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AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                              IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                                 )            8:03CR163
           Plaintiff,                                                     )
                                                                          )
v.                                                                        )   USM No: 18626-047
                                                                          )
JORGE A. ARONJA-INDA                                                      )   JEFFREY L. THOMAS
                Defendant.                                                )   Defendant’s Attorney
Date of previous judgment: 1/5/2004                                       )

     Order Regarding Motions (Filing Nos. 145, 151) for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motions of the defendant under 18 U.S.C. § 3582(c)(2) for a reduction in the term of imprisonment
imposed based on a guideline sentencing range that has subsequently been lowered and made retroactive by the United
States Sentencing Commission pursuant to 28 U.S.C. § 994(u), and having considered such motions,

IT IS ORDERED that the motions (Filing Nos. 145, 151) are GRANTED and the defendant’s previously imposed
sentence of imprisonment (as reflected in the last judgment issued) of 324 months is reduced to 262 months.

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
     Previous Offense Level:    40                                      Amended Offense Level:       38
     Criminal History Category: II                                      Criminal History Category:   II
     Previous Guideline Range: 324              to 405         months   Amended Guideline Range:     262   to 327   months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
       The reduced sentence is within the amended guideline range.
        The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the
        time of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less
        than the amended guideline range.

        Other (explain):

III. ADDITIONAL COMMENTS

Except as provided above, all provisions of the judgment dated January 5, 2004 shall remain in effect.
IT IS SO ORDERED.

Dated this 7th day of October, 2008
Effective Date: Tuesday, October 21, 2008

                                                               s/ Laurie Smith Camp
                                                               United States District Judge
